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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                     WESTERN DIVISION
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12   AMAZON LOGISTICS, INC.,                             Case No. 2:20-cv-03230-AB
13                 Appellant,                            USBC Case No. 2:19-bk-14989-WB
14          v.                                           [PROPOSED] ORDER
                                                         DISMISSING APPEAL
15   SCOOBEEZ,
                                                         Judge: Honorable André Birotte Jr.
16                 Appellee.
17

18          The parties having stipulated thereto (Dkt. No. 27), pursuant to the provisions of Federal

19   Rule of Bankruptcy Procedure 8023, this appeal is hereby DISMISSED. Each party is to bear its

20   own costs and fees.

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22   Dated: August 13, 2020                       _____________________________________
                                                  Hon. André Birotte Jr.
23
                                                  United States District Judge
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